Case 2:20-cv-13134-LVP-RSW ECF No. 19, PageID.2105 Filed 12/01/20 Page 1 of 2




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

TIMOTHY KING, MARIAN ELLEN
SHERIDAN, JOHN EARL HAGGARAD,
CHARLES JAMES RICHARD, JAMES                     CIVIL ACTION
DAVID HOOPER, and DAREN WADE
RUBINGH,                                         No. 2:20-cv-13134-LVP-RSW

            Plaintiffs,                          Hon. Linda V. Parker

v.

GRETCHEN WHITMER, in her official
capacity as Governor of the State of
Michigan, JOCELYN BENSON, in her
official capacity as Michigan Secretary of
State, and the Michigan BOARD OF
STATE CANVASSERS,

          Defendants.
____________________________________/

                          NOTICE OF APPEARANCE

      NOW COMES Mary Ellen Gurewitz, of Cummings & Cummings Law

PLLC, and hereby enters her appearance in the above-captioned matter as attorney

for Proposed Intervenor-Defendants DNC Services Corporation/Democratic

National Committee and Michigan Democratic Party.
Case 2:20-cv-13134-LVP-RSW ECF No. 19, PageID.2106 Filed 12/01/20 Page 2 of 2




                                   /s/Mary Ellen Gurewitz _________________
                                   Mary Ellen Gurewitz (P25724)
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